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10                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
11

12    ISRAEL SANCHEZ, Individually             Case No.:
      and On Behalf of All Others
13    Similarly Situated,
14                                             CLASS ACTION COMPLAINT
                               Plaintiff,      FOR VIOLATIONS OF THE
15                                             FEDERAL SECURITIES LAWS
16                 v.

17    CENTENE CORP., MICHAEL F.                JURY TRIAL DEMANDED
18    NEIDORFF, and JEFFREY A.
      SCHWANEKE,
19

20                             Defendants.
21

22

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 1         Plaintiff Israel Sanchez (“Plaintiff”), by and through his attorneys, alleges the
 2 following upon information and belief, except as to those allegations concerning

 3 Plaintiff, which are alleged upon personal knowledge. Plaintiff’s information and

 4 belief is based upon, among other things, his counsel’s investigation, which includes

 5 without limitation: (a) review and analysis of regulatory filings made by Centene

 6 Corp. (“Centene” or the “Company”), with the United States (“U.S.”) Securities and

 7 Exchange Commission (“SEC”); (b) review and analysis of press releases and media

 8 reports issued by and disseminated by Centene; and (c) review of other publicly

 9 available information concerning Centene.

10                   NATURE OF THE ACTION AND OVERVIEW
11         1.    This is a class action on behalf of persons and entities that acquired
12 Centene securities between April 26, 2016, and September 6, 2016, inclusive (the

13 “Class Period”), against the Defendants,1 seeking to pursue remedies under the

14 Securities Exchange Act of 1934 (the “Exchange Act”).

15         2.    Centene provides health plans in over twenty states through Medicaid,
16 Medicare, and the Health Insurance Marketplace.

17         3.    On March 24, 2016, the Company completed the acquisition of Health
18 Net, Inc. (“Health Net”) for approximately $6 billion, including the assumption of

19 debt. The acquisition was accounted for as a business combination, which requires

20 that assets acquired and liabilities assumed be recognized at their fair values as of

21 the acquisition date.

22         4.    Accordingly, on May 10, 2016, Centene provided financial information
23 to investors concerning the completed acquisition of Health Net. Therein, the

24 Company incorrectly accounted for Health Net’s underperforming health plans,

25 including by understating certain reserves to account for losses in California,

26 Arizona and Oregon.

27
     1
      “Defendants” refers collectively to Centene, Michael F. Neidorff, and Jeffrey A.
28
     Schwaneke.
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 1          5.    Indeed, throughout the Class Period, Defendants made materially false
 2 and/or misleading statements, as well as failed to disclose material adverse facts

 3 about the Company’s business, operations, and prospects. Specifically, Defendants

 4 made false and/or misleading statements and/or failed to disclose: (1) that certain

 5 Health Net insurance programs were significantly underperforming; (2) that Health

 6 Net’s insurance plans were generating material losses; (3) that Centene had

 7 overstated Health Net’s financial prospects; and, (4) that, as a result of the

 8 foregoing, Defendants’ statements about Centene’s business, operations, and

 9 prospects, were false and misleading and/or lacked a reasonable basis.

10          6.    As a result of Defendants’ wrongful acts and omissions, and the
11 precipitous decline in the market value of the Company’s securities, Plaintiff and

12 other Class members have suffered significant losses and damages.

13                            JURISDICTION AND VENUE
14          7.    The claims asserted herein arise under Sections 10(b) and 20(a) of the
15 Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

16 thereunder by the SEC (17 C.F.R. § 240.10b-5).

17          8.    This Court has jurisdiction over the subject matter of this action
18 pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. §

19 78aa).

20          9.    Venue is proper in this Judicial District pursuant to 28 U.S.C. §
21 1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts

22 in furtherance of the alleged fraud or the effects of the fraud have occurred in this

23 Judicial District. Many of the acts charged herein, including the dissemination of

24 materially false and/or misleading information, occurred in substantial part in this

25 Judicial District as Health Net’s principal executive offices are located within this

26 Judicial District.

27          10.   In connection with the acts, transactions, and conduct alleged herein,
28 Defendants directly and indirectly used the means and instrumentalities of interstate

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 1 commerce, including the United States mail, interstate telephone communications,

 2 and the facilities of a national securities exchange.

 3                                        PARTIES
 4        11.    Plaintiff Israel Sanchez, as set forth in the accompanying certification,
 5 incorporated by reference herein, purchased Centene securities during the Class

 6 Period, and suffered damages as a result of the federal securities law violations and

 7 false and/or misleading statements and/or material omissions alleged herein.

 8        12.    Defendant Centene Corp. is a Delaware corporation with its principal
 9 executive offices located St. Louis, Missouri. Centene’s shares trade on the New

10 York Stock Exchange (“NYSE”) under the symbol “CNC.”

11        13.    Defendant Michael F. Neidorff (“Neidorff”) was, at all relevant times,
12 the Chief Executive Officer (“CEO”) of Centene.

13        14.    Defendant Jeffrey A. Schwaneke (“Schwaneke”) was, at all relevant
14 times, the Chief Financial Officer (“CFO”) of Centene.

15        15.    Defendants Neidorff and Schwaneke are collectively referred to
16 hereinafter as the “Individual Defendants.” The Individual Defendants, because of

17 their positions with the Company, possessed the power and authority to control the

18 contents of Centene’s reports to the SEC, press releases and presentations to

19 securities analysts, money and portfolio managers and institutional investors, i.e.,

20 the market. Each defendant was provided with copies of the Company’s reports and

21 press releases alleged herein to be misleading prior to, or shortly after, their issuance

22 and had the ability and opportunity to prevent their issuance or cause them to be

23 corrected. Because of their positions and access to material non-public information

24 available to them, each of these defendants knew that the adverse facts specified

25 herein had not been disclosed to, and were being concealed from, the public, and

26 that the positive representations which were being made were then materially false

27 and/or misleading. The Individual Defendants are liable for the false statements

28 pleaded herein, as those statements were each “group-published” information, the

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 1 result of the collective actions of the Individual Defendants.

 2                            SUBSTANTIVE ALLEGATIONS
 3                                       Background
 4         16.    Centene provides health plans in over twenty states through Medicaid,
 5 Medicare, and the Health Insurance Marketplace. The Company completed the

 6 acquisition of Health Net in March of 2016 for approximately $6 billion.

 7                              Materially False and Misleading
                           Statements Issued During the Class Period
 8
           17.    The Class Period begins on April 26, 2016, on that day the Company
 9

10 published a press release announcing first quarter 2016 results, and provided 2016

11 guidance of revenues of $39.8 billion at the high end. For the first quarter 2016, the

12
     Company announced a diluted net loss per share of $0.13 on revenues of $6.9
13

14 billion.

15
           18.    In the Company’s April 26, 2016 press release, Defendant Neidorff
16
     noted the transformational nature of the Health Net transaction, stating in relevant
17

18 part:

19
           We are pleased to have closed the Health Net transaction, as expected,
20         in the first quarter. This acquisition is transformational -- building on
           our critical mass and new products and capabilities that will enhance
21
           the sustainability of our long-term growth. The integration process is
22         proceeding as planned and we look forward to continued success in
           2016 and beyond.
23

24         19.    On April 26, 2016, the Company filed with the SEC its quarterly report
25
     on Form 10Q, and reiterated the financial results previously stated in the April 26,
26
     2016 press release.
27

28         20.    On May 10, 2016, Centene filed a report with the SEC, therein the

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 1 Company provided pro forma financial information for Centene and Health Net for

 2
     the year ended December 31, 2015, including the following purchase price
 3

 4
     allocation for the Health Net transaction:

 5               Assets Acquired and Liabilities Assumed:
                 Cash and cash equivalents                                                            $       1,422
 6               Premium and related receivables (a)                                                          1,076
 7               Short term investments                                                                          40
                 Other current assets                                                                           670
 8               Long term investments                                                                        1,965
                 Restricted deposits                                                                             36
 9               Property, software and equipment, net                                                           43
10               Intangible assets (b)                                                                        1,500
                 Other long term assets                                                                         203
11                    Total assets acquired                                                                   6,955

12
                 Medical claims liability                                                                     1,370
13               Borrowings under revolving credit facility                                                     285
                 Accounts payable and accrued expenses                                                        1,928
14               Return of premium payable                                                                      375
                 Unearned revenue                                                                               117
15
                 Long term deferred tax liabilities (c)                                                         415
16               Long term debt (d)                                                                             418
                 Other long term liabilities                                                                    369
17                   Total liabilities assumed                                                                5,277

18
                    Total identifiable net assets                                                             1,678
19               Goodwill (e)                                                                                 3,601
                         Total assets acquired and liabilities assumed                                $       5,279
20

21
           21.         And Centene also provided the following consolidated pro forma
22
     performance of Centene and Health Net information:
23                       Unaudited Pro Forma Condensed Combined Statement of Operations
                                       For the Year Ended December 31, 2015
24                                         (In millions, except share data)
                                                                                    Pro Forma
25                                                                                 Adjustments                Pro Forma
                                                Centene           Health Net         (Note 6)                 Combined
26         Revenues:
             Premium                        $      19,389     $       15,553   $          (346) (i)       $       34,596
27           Service                                1,876                629                —                      2,505
             Premium and service revenues          21,265             16,182              (346)                   37,101
28

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 1       Premium tax and health insurer fee                 1,495               —                 346    (i)                 1,841
              Total revenues                              22,760            16,182                 —                       38,942
 2        Expenses:
         Medical costs                                    17,242            13,041                 63    (i)               30,346
 3
         Cost of services                                   1,621              604                 —                         2,225

 4       General and administrative expenses                1,826            2,109               (216) (b), (e),             3,719
                                                                                                       (f), (i),
                                                                                                       (j)
 5       Premium tax expense                                1,151               —                 267    (i)                 1,418
         Health insurer fee expense                          215                —                 233    (i)                  448
 6
         Asset impairment                                     —                  2                 —                            2
 7            Total operating expenses                    22,055            15,756                347                      38,158
              Earnings from operations                       705               426               (347)                        784
 8        Other income (expense):
         Investment and other income                          35                62                 (4) (a)                     93
 9
         Interest expense                                     (43)              (33)             (126) (c), (d)              (202)
10            Earnings from continuing                       697               455               (477)                        675
                operations, before income tax
                expense
11
         Income tax expense (benefit)                        339               269               (152) (g)                    456

12            Earnings from continuing                       358               186               (325)                        219
                operations, net of income tax
                expense
13       iscontinued operations, net of income                 (1)              —                  —                            (1)
          tax expense (benefit)
14            Net earnings                                   357               186               (325)                        218
        Earnings) loss attributable to                         (2)              —                  —                            (2)
15       noncontrolling interests
              Net earnings attributable to
16              common stockholders               $          355     $         186     $         (325)             $          216


17       mounts attributable to common stockholders:
         Earnings from continuing operations,
18         net of income tax expense                         356               186               (325                         217
         Discontinued operations, net of income                (1               —                  —                            (1
19         tax expense (benefit)
           Net earnings                                      355               186               (325                         216
20
         et earnings per common share:
21       Basic:
           Continuing operations                  $          2.99    $         2.40                                $          1.30
22
           Discontinued operations                          (0.01)              —                                            (0.01)
23           Basic earnings per common share      $          2.98    $         2.40                                $          1.29

24
         Diluted:

25         Continuing operations                  $          2.89    $         2.37                                $          1.26
           Discontinued operations                          (0.01)              —                                            (0.01)
26           Diluted earnings per common share $             2.88    $         2.37                                $          1.25

27
        Weighted average number of common stock outstanding:
28          Basic                                     119,100,744        77,212,351        (28,762,907) (h)            167,550,188



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 1            Diluted                     123,066,370   78,358,471   (29,266,191) (h)   172,158,650


 2

 3        22.           The above statements contained in ¶¶17-21 were materially false and/or
 4 misleading, as well as failed to disclose material adverse facts about the Company’s

 5 business, operations, and prospects. Specifically, these statements were false and/or

 6 misleading statements and/or failed to disclose: (1) that certain Health Net insurance

 7 programs were significantly underperforming; (2) that Health Net’s insurance plans

 8 were generating material losses; (3) that Centene had overstated Health Net’s

 9 financial prospects; and, (4) that, as a result of the foregoing, Defendants’

10 statements about Centene’s business, operations, and prospects, were false and

11 misleading and/or lacked a reasonable basis.

12                             Disclosures at the End of the Class Period
13        23.           On July 26, 2016, the Company filed a report with the SEC on Form
14 8K, stating that it was reserving approximately $300 million for losses associated

15 with Health Net’s insurance plan. The Company stated in relevant part:

16        In connection with the Company's second quarter 2016 earnings
          conference call on July 26, 2016, the Company discussed the fair value
17        of the premium deficiency reserve of approximately $300 million
          recorded in connection with the Health Net acquisition. The fair value
18        of the premium deficiency reserve is comprised of the following:
19        •                    $125 million associated with the California commercial
                               business, $50 million of which is associated with
20                             substance abuse treatment facilities. We have filed for a
                               combination of price increases and benefit design changes
21                             including reductions in reimbursement for out of network
                               services. We are in the final stages of approval with the
22                             California Department of Insurance, which will be
                               concluded by the end of the third quarter of 2016.
23
          •                    $70 million associated with the Arizona individual
24                             commercial business. We will exit the entire individual
                               PPO business, effective January 1, 2017. We are reducing
25                             our participation in the health insurance marketplace
                               business to one county for 2017 and have taken
26                             significant rate actions.
27        •                    $70 million associated with the Medicare business. The
                               2017 bids have been submitted and should return the
28                             business to profitability in 2017.

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 1
           •            $15 million associated with the Arizona Medicaid
 2                      business. We have fully transitioned this business to
                        Centene's operating platform as of July 1, 2016, and we
 3                      have taken appropriate actions to improve performance.
 4         •            $20 million of other smaller items including the Arizona
                        small group and Oregon individual business. We have
 5                      filed for rate increases and taken other appropriate actions
                        to address these for 2017.
 6

 7         24.   On this news, Centene’s shares price fell $6.39 per share, or over 8%,
 8 to close at $68.87 per share on July 26, 2016, on unusually heavy trading volume.

 9         25.   Then on September 6, 2016, during the middle of the trading session,
10 Leerink Partners, LLC (“Leerink”) issued a report downgrading Centene stock due

11 to underperformance of the Health Net legacy insurance programs, including Health

12 Net’s California substance abuse programs. The Leerink report stated in relevant

13 part:

14         We are downgrading CNC from OP to MP while maintaining our PT
15
           at $80. Our downgrade is predicated on our view of below consensus
           EPS achievability in 2017 where we are lowering our EPS estimate by
16         an incremental 9c to $4.56, below consensus of $4.87. Our 2017E
17
           EPS achievability already contemplated the downside of the HNT
           [Health Net] CA PPO substance abuse reimbursement issues in 2017.
18         Our EPS lowering in 2017E by an incremental 9c further
19         contemplates a midsingle- digit negative margin on the recently
           awarded MLTSS contract for the State of PA. Our recent discussions
20         with senior Medicaid executives on our SoCal bus tour on Aug. 31
21         further diminish our confidence on the profitability of this contract
           both near and medium term.
22

23         • Downgrading CNC to MP while maintaining PT at $80. Our
           downgrade is predicated on our view of below consensus EPS
24         achievability in 2017E with our EPS of $4.56 lowered incrementally
25         by 9c, with consensus at $4.87. Margins in the core Medicaid business
           look to have peaked and the pressures from (a) HNT Substance abuse
26         pressures in CA, (b) the start-up and likely continuing losses in the PA
27         contract, and (c) potentially from phase out of 2Rs and exits in HIX in
           2017 are likely to drive margin compression in the overall book
28

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 1         26.   On this news the Company’s shares fell $3.32 per share, or 5%, to close
 2 on September 6, 2016 at $65.30.

 3                             CLASS ACTION ALLEGATIONS
 4         27.   Plaintiff brings this action as a class action pursuant to Federal Rule of
 5 Civil Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and

 6 entities that acquired Centene securities between April 26, 2016, and September 6,

 7 2016, inclusive, and who were damaged thereby (the “Class”). Excluded from the

 8 Class are Defendants, the officers and directors of the Company, at all relevant

 9 times, members of their immediate families and their legal representatives, heirs,

10 successors, or assigns, and any entity in which Defendants have or had a controlling

11 interest.

12         28.   The members of the Class are so numerous that joinder of all members
13 is impracticable. Throughout the Class Period, Centene’s sharess actively traded on

14 the NYSE. While the exact number of Class members is unknown to Plaintiff at this

15 time and can only be ascertained through appropriate discovery, Plaintiff believes

16 that there are at least hundreds or thousands of members in the proposed Class.

17 Millions of Centene shares were traded publicly during the Class Period on the

18 NYSE. As of October 14, 2016, the Company had 170,892,049 shares of common

19 stock outstanding. Record owners and other members of the Class may be identified

20 from records maintained by Centene or its transfer agent and may be notified of the

21 pendency of this action by mail, using the form of notice similar to that customarily

22 used in securities class actions.

23         29.   Plaintiff’s claims are typical of the claims of the members of the Class
24 as all members of the Class are similarly affected by Defendants’ wrongful conduct

25 in violation of federal law that is complained of herein.

26         30.   Plaintiff will fairly and adequately protect the interests of the members
27 of the Class and has retained counsel competent and experienced in class and

28 securities litigation.

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 1        31.    Common questions of law and fact exist as to all members of the Class
 2 and predominate over any questions solely affecting individual members of the

 3 Class. Among the questions of law and fact common to the Class are:

 4               (a)   whether the federal securities laws were violated by Defendants’
 5 acts as alleged herein;

 6               (b)   whether statements made by Defendants to the investing public
 7 during the Class Period omitted and/or misrepresented material facts about the

 8 business, operations, and prospects of Centene; and

 9               (c)   to what extent the members of the Class have sustained damages
10 and the proper measure of damages.

11        32.    A class action is superior to all other available methods for the fair and
12 efficient adjudication of this controversy since joinder of all members is

13 impracticable. Furthermore, as the damages suffered by individual Class members

14 may be relatively small, the expense and burden of individual litigation makes it

15 impossible for members of the Class to individually redress the wrongs done to

16 them. There will be no difficulty in the management of this action as a class action.

17                           UNDISCLOSED ADVERSE FACTS
18        33.    The market for Centene’s securities was open, well-developed and
19 efficient at all relevant times. As a result of these materially false and/or misleading

20 statements, and/or failures to disclose, Centene’s securities traded at artificially

21 inflated prices during the Class Period. Plaintiff and other members of the Class

22 purchased or otherwise acquired Centene’s securities relying upon the integrity of

23 the market price of the Company’s securities and market information relating to

24 Centene, and have been damaged thereby.

25        34.    During the Class Period, Defendants materially misled the investing
26 public, thereby inflating the price of Centene’s securities, by publicly issuing false

27 and/or misleading statements and/or omitting to disclose material facts necessary to

28 make Defendants’ statements, as set forth herein, not false and/or misleading. The

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 1 statements and omissions were materially false and/or misleading because they

 2 failed to disclose material adverse information and/or misrepresented the truth about

 3 Centene’s business, operations, and prospects as alleged herein.

 4        35.    At all relevant times, the material misrepresentations and omissions
 5 particularized in this Complaint directly or proximately caused or were a substantial

 6 contributing cause of the damages sustained by Plaintiff and other members of the

 7 Class. As described herein, during the Class Period, Defendants made or caused to

 8 be made a series of materially false and/or misleading statements about Centene’s

 9 financial well-being and prospects. These material misstatements and/or omissions

10 had the cause and effect of creating in the market an unrealistically positive

11 assessment of the Company and its financial well-being and prospects, thus causing

12 the Company’s securities to be overvalued and artificially inflated at all relevant

13 times. Defendants’ materially false and/or misleading statements during the Class

14 Period resulted in Plaintiff and other members of the Class purchasing the

15 Company’s securities at artificially inflated prices, thus causing the damages

16 complained of herein when the truth was revealed.

17                                 LOSS CAUSATION
18        36.    Defendants’ wrongful conduct, as alleged herein, directly and
19 proximately caused the economic loss suffered by Plaintiff and the Class.

20        37.    During the Class Period, Plaintiff and the Class purchased Centene’s
21 securities at artificially inflated prices and were damaged thereby. The price of the

22 Company’s securities significantly declined when the misrepresentations made to

23 the market, and/or the information alleged herein to have been concealed from the

24 market, and/or the effects thereof, were revealed, causing investors’ losses.

25                            SCIENTER ALLEGATIONS
26        38.    As alleged herein, Defendants acted with scienter since Defendants
27 knew that the public documents and statements issued or disseminated in the name

28 of the Company were materially false and/or misleading; knew that such statements

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 1 or documents would be issued or disseminated to the investing public; and

 2 knowingly and substantially participated or acquiesced in the issuance or

 3 dissemination of such statements or documents as primary violations of the federal

 4 securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of

 5 their receipt of information reflecting the true facts regarding Centene, his/her

 6 control over, and/or receipt and/or modification of Centene’s allegedly materially

 7 misleading misstatements and/or their associations with the Company which made

 8 them privy to confidential proprietary information concerning Centene, participated

 9 in the fraudulent scheme alleged herein.

10               APPLICABILITY OF PRESUMPTION OF RELIANCE
                     (FRAUD-ON-THE-MARKET DOCTRINE)
11
           39.    The market for Centene’s securities was open, well-developed and
12
     efficient at all relevant times. As a result of the materially false and/or misleading
13
     statements and/or failures to disclose, Centene’s securities traded at artificially
14
     inflated prices during the Class Period. On July 22, 2016, the Company’s shares
15
     price closed at a Class Period high of $75.39 per share. Plaintiff and other members
16
     of the Class purchased or otherwise acquired the Company’s securities relying upon
17
     the integrity of the market price of Centene’s securities and market information
18
     relating to Centene, and have been damaged thereby.
19
           40.    During the Class Period, the artificial inflation of Centene’s share price
20
     was caused by the material misrepresentations and/or omissions particularized in
21
     this Complaint causing the damages sustained by Plaintiff and other members of the
22
     Class. As described herein, during the Class Period, Defendants made or caused to
23
     be made a series of materially false and/or misleading statements about Centene’s
24
     business, prospects, and operations. These material misstatements and/or omissions
25
     created an unrealistically positive assessment of Centene and its business,
26
     operations, and prospects, thus causing the price of the Company’s securities to be
27
     artificially inflated at all relevant times, and when disclosed, negatively affected the
28

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 1 value of the Company share price. Defendants’ materially false and/or misleading

 2 statements during the Class Period resulted in Plaintiff and other members of the

 3 Class purchasing the Company’s securities at such artificially inflated prices, and

 4 each of them has been damaged as a result.

 5          41.   At all relevant times, the market for Centene’s securities was an
 6 efficient market for the following reasons, among others:

 7                (a)   Centene sharess met the requirements for listing, and was listed
 8 and actively traded on the NYSE, a highly efficient and automated market;

 9                (b)   As a regulated issuer, Centene filed periodic public reports with
10 the SEC and/or the NYSE;

11                (c)   Centene regularly communicated with public investors via
12 established    market communication mechanisms, including through regular
13 dissemination of press releases on the national circuits of major newswire services

14 and through other wide-ranging public disclosures, such as communications with the

15 financial press and other similar reporting services; and/or

16                (d)   Centene was followed by securities analysts employed by
17 brokerage firms who wrote reports about the Company, and these reports were

18 distributed to the sales force and certain customers of their respective brokerage

19 firms.     Each of these reports was publicly available and entered the public
20 marketplace.

21          42.   As a result of the foregoing, the market for Centene’s securities
22 promptly digested current information regarding Centene from all publicly available

23 sources and reflected such information in Centene’s shares price. Under these

24 circumstances, all purchasers of Centene’s securities during the Class Period

25 suffered similar injury through their purchase of Centene’s securities at artificially

26 inflated prices and a presumption of reliance applies.

27          43.   A Class-wide presumption of reliance is also appropriate in this action
28 under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United

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 1 States, 406 U.S. 128 (1972), because the Class’s claims are, in large part, grounded

 2 on Defendants’ material misstatements and/or omissions.          Because this action
 3 involves Defendants’ failure to disclose material adverse information regarding the

 4 Company’s      business operations and financial prospects—information that
 5 Defendants were obligated to disclose—positive proof of reliance is not a

 6 prerequisite to recovery. All that is necessary is that the facts withheld be material

 7 in the sense that a reasonable investor might have considered them important in

 8 making investment decisions. Given the importance of the Class Period material

 9 misstatements and omissions set forth above, that requirement is satisfied here.

10                                 NO SAFE HARBOR
11        44.    The statutory safe harbor provided for forward-looking statements
12 under certain circumstances does not apply to any of the allegedly false statements

13 pleaded in this Complaint. The statements alleged to be false and misleading herein

14 all relate to then-existing facts and conditions. In addition, to the extent certain of

15 the statements alleged to be false may be characterized as forward looking, they

16 were not identified as “forward-looking statements” when made and there were no

17 meaningful cautionary statements identifying important factors that could cause

18 actual results to differ materially from those in the purportedly forward-looking

19 statements. In the alternative, to the extent that the statutory safe harbor is

20 determined to apply to any forward-looking statements pleaded herein, Defendants

21 are liable for those false forward-looking statements because at the time each of

22 those forward-looking statements was made, the speaker had actual knowledge that

23 the forward-looking statement was materially false or misleading, and/or the

24 forward-looking statement was authorized or approved by an executive officer of

25 Centene who knew that the statement was false when made.

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 1                                      FIRST CLAIM
                     Violation of Section 10(b) of The Exchange Act and
 2                          Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants
 3
           45.    Plaintiff repeats and realleges each and every allegation contained
 4
     above as if fully set forth herein.
 5
           46.    During the Class Period, Defendants carried out a plan, scheme and
 6
     course of conduct which was intended to and, throughout the Class Period, did: (i)
 7
     deceive the investing public, including Plaintiff and other Class members, as alleged
 8
     herein; and (ii) cause Plaintiff and other members of the Class to purchase Centene’s
 9
     securities at artificially inflated prices. In furtherance of this unlawful scheme, plan
10
     and course of conduct, defendants, and each of them, took the actions set forth
11
     herein.
12
           47.    Defendants (i) employed devices, schemes, and artifices to defraud; (ii)
13
     made untrue statements of material fact and/or omitted to state material facts
14
     necessary to make the statements not misleading; and (iii) engaged in acts, practices,
15
     and a course of business which operated as a fraud and deceit upon the purchasers of
16
     the Company’s securities in an effort to maintain artificially high market prices for
17
     Centene’s securities in violation of Section 10(b) of the Exchange Act and Rule
18
     10b-5. All Defendants are sued either as primary participants in the wrongful and
19
     illegal conduct charged herein or as controlling persons as alleged below.
20
           48.    Defendants, individually and in concert, directly and indirectly, by the
21
     use, means or instrumentalities of interstate commerce and/or of the mails, engaged
22
     and participated in a continuous course of conduct to conceal adverse material
23
     information about Centene’s financial well-being and prospects, as specified herein.
24
           49.    These defendants employed devices, schemes and artifices to defraud,
25
     while in possession of material adverse non-public information and engaged in acts,
26
     practices, and a course of conduct as alleged herein in an effort to assure investors of
27
     Centene’s value and performance and continued substantial growth, which included
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 1 the making of, or the participation in the making of, untrue statements of material

 2 facts and/or omitting to state material facts necessary in order to make the

 3 statements made about Centene and its business operations and future prospects in

 4 light of the circumstances under which they were made, not misleading, as set forth

 5 more particularly herein, and engaged in transactions, practices and a course of

 6 business which operated as a fraud and deceit upon the purchasers of the Company’s

 7 securities during the Class Period.

 8        50.    Each of the Individual Defendants’ primary liability, and controlling
 9 person liability, arises from the following facts: (i) the Individual Defendants were

10 high-level executives and/or directors at the Company during the Class Period and

11 members of the Company’s management team or had control thereof; (ii) each of

12 these defendants, by virtue of their responsibilities and activities as a senior officer

13 and/or director of the Company, was privy to and participated in the creation,

14 development and reporting of the Company’s internal budgets, plans, projections

15 and/or reports; (iii) each of these defendants enjoyed significant personal contact

16 and familiarity with the other defendants and was advised of, and had access to,

17 other members of the Company’s management team, internal reports and other data

18 and information about the Company’s finances, operations, and sales at all relevant

19 times; and (iv) each of these defendants was aware of the Company’s dissemination

20 of information to the investing public which they knew and/or recklessly

21 disregarded was materially false and misleading.

22        51.    The defendants had actual knowledge of the misrepresentations and/or
23 omissions of material facts set forth herein, or acted with reckless disregard for the

24 truth in that they failed to ascertain and to disclose such facts, even though such

25 facts were available to them. Such defendants’ material misrepresentations and/or

26 omissions were done knowingly or recklessly and for the purpose and effect of

27 concealing Centene’s financial well-being and prospects from the investing public

28 and supporting the artificially inflated price of its securities. As demonstrated by

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 1 Defendants’ overstatements and/or misstatements of the Company’s business,

 2 operations, financial well-being, and prospects throughout the Class Period,

 3 Defendants, if they did not have actual knowledge of the misrepresentations and/or

 4 omissions alleged, were reckless in failing to obtain such knowledge by deliberately

 5 refraining from taking those steps necessary to discover whether those statements

 6 were false or misleading.

 7        52.    As a result of the dissemination of the materially false and/or
 8 misleading information and/or failure to disclose material facts, as set forth above,

 9 the market price of Centene’s securities was artificially inflated during the Class

10 Period. In ignorance of the fact that market prices of the Company’s securities were

11 artificially inflated, and relying directly or indirectly on the false and misleading

12 statements made by Defendants, or upon the integrity of the market in which the

13 securities trades, and/or in the absence of material adverse information that was

14 known to or recklessly disregarded by Defendants, but not disclosed in public

15 statements by Defendants during the Class Period, Plaintiff and the other members

16 of the Class acquired Centene’s securities during the Class Period at artificially high

17 prices and were damaged thereby.

18        53.    At the time of said misrepresentations and/or omissions, Plaintiff and
19 other members of the Class were ignorant of their falsity, and believed them to be

20 true. Had Plaintiff and the other members of the Class and the marketplace known

21 the truth regarding the problems that Centene was experiencing, which were not

22 disclosed by Defendants, Plaintiff and other members of the Class would not have

23 purchased or otherwise acquired their Centene securities, or, if they had acquired

24 such securities during the Class Period, they would not have done so at the

25 artificially inflated prices which they paid.

26        54.    By virtue of the foregoing, Defendants have violated Section 10(b) of
27 the Exchange Act and Rule 10b-5 promulgated thereunder.

28        55.    As a direct and proximate result of Defendants’ wrongful conduct,

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 1 Plaintiff and the other members of the Class suffered damages in connection with

 2 their respective purchases and sales of the Company’s securities during the Class

 3 Period.

 4                                  SECOND CLAIM
                      Violation of Section 20(a) of The Exchange Act
 5                          Against the Individual Defendants
 6        56.    Plaintiff repeats and realleges each and every allegation contained
 7 above as if fully set forth herein.

 8        57.    The Individual Defendants acted as controlling persons of Centene
 9 within the meaning of Section 20(a) of the Exchange Act as alleged herein. By

10 virtue of their high-level positions, and their ownership and contractual rights,

11 participation in and/or awareness of the Company’s operations and/or intimate

12 knowledge of the false financial statements filed by the Company with the SEC and

13 disseminated to the investing public, the Individual Defendants had the power to

14 influence and control and did influence and control, directly or indirectly, the

15 decision-making of the Company, including the content and dissemination of the

16 various statements which Plaintiff contends are false and misleading.                 The
17 Individual Defendants were provided with or had unlimited access to copies of the

18 Company’s reports, press releases, public filings and other statements alleged by

19 Plaintiff to be misleading prior to and/or shortly after these statements were issued

20 and had the ability to prevent the issuance of the statements or cause the statements

21 to be corrected.

22        58.    In particular, each of these Defendants had direct and supervisory
23 involvement in the day-to-day operations of the Company and, therefore, is

24 presumed to have had the power to control or influence the particular transactions

25 giving rise to the securities violations as alleged herein, and exercised the same.

26        59.    As set forth above, Centene and the Individual Defendants each
27 violated Section 10(b) and Rule 10b-5 by their acts and/or omissions as alleged in

28 this Complaint. By virtue of their positions as controlling persons, the Individual

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 1 Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct

 2 and proximate result of Defendants’ wrongful conduct, Plaintiff and other members

 3 of the Class suffered damages in connection with their purchases of the Company’s

 4 securities during the Class Period.

 5                                PRAYER FOR RELIEF
 6        WHEREFORE, Plaintiff prays for relief and judgment, as follows:
 7        (a)    Determining that this action is a proper class action under Rule 23 of
 8 the Federal Rules of Civil Procedure;

 9        (b)    Awarding compensatory damages in favor of Plaintiff and the other
10 Class members against all defendants, jointly and severally, for all damages

11 sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,

12 including interest thereon;

13        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses
14 incurred in this action, including counsel fees and expert fees; and

15        (d)    Such other and further relief as the Court may deem just and proper.
16                               JURY TRIAL DEMANDED
17        Plaintiff hereby demands a trial by jury.
18
     Dated: November 14, 2016              GLANCY PRONGAY & MURRAY LLP
19

20
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28                                         Attorneys for Plaintiff

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                       Israel Sanchez's Transactions in
                            Centene Corp. (CNC)
             Date     Transaction Type     Quantity       Unit Price
           06/07/2016      Bought                    65      $66.6800
